Case 1:20-cv-05233-SEG   Document 115-19   Filed 01/18/24   Page 1 of 5
                                                                          Exhibit 17




                                                            PLAINTIFF-024660(UI&S)
Case 1:20-cv-05233-SEG   Document 115-19   Filed 01/18/24   Page 2 of 5




                                                            PLAINTIFF-024661(UI&S)
Case 1:20-cv-05233-SEG   Document 115-19   Filed 01/18/24   Page 3 of 5




                                                            PLAINTIFF-024662(UI&S)
Case 1:20-cv-05233-SEG   Document 115-19   Filed 01/18/24   Page 4 of 5




                                                            PLAINTIFF-024663(UI&S)
Case 1:20-cv-05233-SEG   Document 115-19   Filed 01/18/24   Page 5 of 5




                                                            PLAINTIFF-024664(UI&S)
